           Case 1:17-vv-00924-UNJ Document 23 Filed 02/23/18 Page 1 of 2




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-924V
                                    Filed: October 19, 2017
                                        UNPUBLISHED


    H.S., a minor, by his mother,
    JENNIFER STRACICK,                                       Special Processing Unit (SPU);
                                                             Ruling on Entitlement; Concession;
                        Petitioner,                          Causation-In-Fact; Haemophilus
    v.                                                       influenzae type b (Hib) Vaccine;
                                                             Subcutaneous Nodule or Lump; Skin
    SECRETARY OF HEALTH AND                                  Discoloration
    HUMAN SERVICES,

                       Respondent.


Michael G. McLaren, Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN, for
       petitioner.
Justine Elizabeth Walters, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
       On July 7, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petition (ECF No. 1). Petitioner alleges that, after receiving the Haemophilus
influenzae type b (“Hib”) vaccine on January 11, 2016 (id. at ¶ 2), her minor child, H.S.,
“developed a lump on his left thigh at the site of injection” (id. at ¶ 3) and suffered
“permanent physical injuries and significant ongoing pain and suffering” (id. at ¶ 7). She
maintains that H.S.’s injuries were caused-in-fact by the Hib vaccine. Id. at 1.
Petitioner further alleges that H.S. “endured permanent physical injuries and significant
ongoing pain and suffering . . . that persisted for longer than six months” (id. at ¶ 7) and

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:17-vv-00924-UNJ Document 23 Filed 02/23/18 Page 2 of 2



that “neither [H.S.] nor his mother have ever received compensation in the form of an
award or settlement for [H.S.’s] vaccine related injuries” (id. at ¶ 8). The case was
assigned to the Special Processing Unit of the Office of Special Masters.
       On October 17, 2017, respondent filed his Rule 4(c) report in which he concedes
that “petitioner is entitled to compensation for the subcutaneous nodule with residual
skin discoloration that H.S. developed at the site of his January 11, 2016 Hib
vaccination.” Respondent’s Rule 4(c) Report at 1. Specifically, respondent “concluded
that H.S. more likely than not developed a subcutaneous nodule at the site of his
January 11, 2016, Hib vaccination, and that this injury is not due to factors unrelated to
the Hib vaccination.” Id. at 3. Respondent further agrees that petitioner has met the
statutory and jurisdictional requirements of the Vaccine Act. Id. at 4.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.


                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
